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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


JANSSEN BIOTECH, INC.,

                         Plaintiff,

                 v.                        No. 1:17-cv-11008-MLW
                                           CONFIDENTIAL –
CELLTRION HEALTHCARE CO., LTD.,            FILED UNDER SEAL
CELLTRION, INC., and
HOSPIRA, INC.,

                         Defendants.




  JANSSEN’S REPLY TO DEFENDANTS’ STATEMENT OF COUNTER-FACTS ON
             THE ISSUE OF NON-INFRINGING ALTERNATIVES




            FILED UNDER SEAL
